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            SUPREME COURT OF THE STATE OF NEW YORK
            COUNTY OF ROCKLAND

            ERIN SHEEHAN, on behalf of herself and all                    SUMMONS
            others similarly situated,
                                                                          Index No.
                                     Plaintiff,
                                                                          Date Purchased: 02/09/2023
                     v.
                                                                          Plaintiff designates Rockland
            NUTRACEUTICAL WELLNESS, INC., d/b/a                           County as the place of trial.
            NUTRAFOL,
                                                                          The basis for venue is Plaintiff’s
                                     Defendant.                           residence.




            To the above-named Defendant:

                    YOU ARE HEREBY SUMMONED to answer the complaint in this action and to serve

            a copy of your answer, or, if the complaint is not served with this summons, to serve a notice of

            appearance on the Plaintiff’s attorney at the address set forth below, within 20 days after the service

            of this summons (not counting the day of service itself), or within 30 days after service is complete

            if the summons is not delivered personally to you within the State of New York.

                    YOU ARE HEREBY NOTIFIED THAT in the case of your failure to appear or to

            answer the complaint, a judgment will be entered against you by default for the relief demanded

            in the complaint.




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            Dated: February 9, 2023
                   White Plains, New York

                                                                 DENLEA & CARTON LLP



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            SUPREME COURT OF THE STATE OF NEW YORK
            COUNTY OF ROCKLAND
            ------------------------------------------------------------------------X
            ERIN SHEEHAN on behalf of herself
            and all others similarly situated,                                      Case No.:
                                      Plaintiff,

                    v.                                                              COMPLAINT

            NUTRACEUTICAL WELLNESS, INC. d/b/a
            NUTRAFOL,
                          Defendant.

            -------------------------------------------------------------------------X

                    Plaintiff Erin Sheehan, on behalf of herself and all others similarly situated (“Plaintiff”),

            by and through her undersigned counsel, Denlea & Carton LLP, states for her Complaint against

            Nutraceutical Wellness, Inc. (“Nutrafol” or “Defendant”), as follows:

                                                   PRELIMINARY STATEMENT




                    1.       This action seeks to redress the false, misleading, and deceptive advertising and

            packaging claims that Nutrafol has made in connection with the sale of its purportedly “clinically

            proven” anti-hair loss supplement marketed under the brand name Nutrafol Women.1

                    2.       It is estimated that more than 50% of women will experience some form of hair loss

            in their lifetime, with approximately a third suffering from female pattern hair loss (“FPHL”) as a

            result of natural aging and hormone imbalances in the body.2


            1
            .      https://nutrafol.com/nutrafol-core-for-women/
            2
            .      https://my.clevelandclinic.org/health/diseases/16921-hair-loss-in-
            women#:~:text=However%2C%20it%20is%20estimated%20that,women%20in%20the%20United%20States.

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                    3.      Compounding the problem, the emotional and psychological stressors associated

            with the COVID-19 pandemic have resulted in a new class of hair loss sufferers, men and women

            alike. With more people seeking relief from the symptoms of alopecia (the complete absence of

            hair from the body where hair naturally occurs), a proliferation of opportunistic and unscrupulous

            supplement manufacturers are looking to tap into that lucrative market.3

                    4.      Despite claims that Nutrafol Women is “[p]hysician formulated” and uses “medical-

            grade, natural ingredients” which have been proven in a clinical setting, the purported active

            ingredient, pseudo-scientifically branded as “Synergen Complex,” is nothing more than an

            unremarkable assemblage of collagen and common supplements such as ashwagandha, saw

            palmetto, curcumin extract, palm extract, and hyaluronic acid. The remaining ingredients are a

            muddled cocktail of everyday vitamins (such as Vitamins A and C), and various fruit extracts and

            amino acids marketed as “Nutrafol Blend”:




            3
             .      https://www.theatlantic.com/health/archive/2021/11/pandemic-hair-loss-treatment-products/620696/

                                                                  2
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                    5.       Contrary to the claims made by Nutrafol, none of the ingredients in its “clinically

            proven formula” are “medical grade,” and they have never been approved for the treatment of any

            medical condition, let alone hair loss or alopecia. Indeed, the only approved drugs for the treatment

            of androgenetic hair loss currently on the market are Minoxidil and Finasteride.4 A third drug,

            Baricitinib, has only recently been approved by the FDA for the treatment of alopecia areata, which

            is a form of hair loss suffered by those with certain autoimmune disorders.5 Significantly, none of

            these drugs is present in Nutrafol Women.

                    6.       Nutrafol further misleads consumers by falsely claiming that Nutrafol Women is

            “physician-formulated,” thereby creating the impression that doctors have long been prescribing

            the supplement for the treatment of hair loss, or were otherwise involved in its development after

            years of effective use in a patient population:




                    7.       There is no indication, however, that Nutrafol Women was ever developed by

            physicians or, for that matter, was ever anything other than a marketing gimmick to fleece

            unsuspecting consumers and, specifically, the growing number of health-conscious women for

            whom the symptoms of hair loss (whether as a result of age, genetics, or other underlying

            conditions) can be understandably devastating.


            4
             .       https://emedicine.medscape.com/article/1070167-treatment
            5
                .    https://www.fda.gov/news-events/press-announcements/fda-approves-first-systemic-treatment-alopecia-
            areata#:~:text=Today%2C%20the%20U.S.%20Food%20and,in%20the%20U.S.%20each%20year

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                    8.       The face behind Nutrafol is the current CEO, co-founder, and former male model

            Giorgos Tsetis.6 Tsetis founded Nutrafol in 2015 to market hair loss supplements to those “looking

            for a natural yet effective solution in the marketplace,” in contrast to costly prescription

            medications.7

                    9.       Nutrafol’s deceptive advertising campaign is centered upon sharing Tsetis’ own

            alleged experiences taking prescription hair loss drugs that he claims saved his hair, but came at

            the cost of reduced sexual function.8 Purportedly fed up with the pursuit of “external beauty over

            everything else,” Tsetis claims he then embarked upon a journey of discovering and sharing the

            concept of “hair wellness” as an alternative to the debilitating side effects associated with taking

            expensive prescription drugs for hair loss.

                    10.      Tsetis’ claim that the efficacy of Nutrafol is shown by science and clinical studies

            is unequivocal: “Our proprietary blend of medical-grade botanicals and standardized ingredients

            work naturally in the body to combat the underlying causes of thinning hair: stress, hormones,

            nutrition, and environmental factors. Bottom line: the efficacy of our supplements is backed by

            science and clinical studies.”9

                    11.      Extraordinary claims, as the saying goes, require extraordinary evidence and there

            is none. Despite the absence of legitimate scientific evidence for its claims, Nutrafol extensively

            markets its hair loss products to unsuspecting consumers knowing full well that the only thing

            growing “thicker, fuller, and stronger” is its bottom line.




            6
             .      https://medium.com/authority-magazine/giorgos-tsetis-of-nutrafol-five-things-you-need-to-know-to-
            succeed-in-the-modern-beauty-industry-9481a9ba548b (emphasis added).
            7
             .      Id.
            8
             .      Id.
            9
             .      Id. (emphasis added).

                                                                   4
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                    12.     To be sure, there has been an uptick in recent years in legal actions against

            unscrupulous manufacturers claiming to have harnessed the secrets of hair rejuvenation and

            regrowth. From caps and combs fitted with lasers10 to pyramid scheme hucksters peddling strange

            “detoxifying” shampoos,11 the market for hair loss treatments is littered with those looking to take

            advantage of desperate consumers. Nutrafol’s oral supplement, dubbed by its model front man as

            the “holistic” philosophy of “hair wellness,”12 is the latest evolution of the same old canard.

                    13.     By this action, Plaintiff seeks to redress Nutrafol’s unfair and deceptive marketing

            campaign built upon the misleading claims that it makes and to obtain the financial recompense to

            which Plaintiff and her fellow class members are entitled.

                                                         THE PARTIES

                    14.     Plaintiff Erin Sheehan is an individual who resides in Pearl River, New York.

                    15.     Defendant Nutraceutical Wellness, Inc., d/b/a Nutrafol, is a Delaware corporation

            with its principal address at 136 Madison Avenue, Floor 10, New York, NY 10016.

                    16.     Nutrafol manufactures, markets, and sells Nutrafol Women through Nutrafol.com

            and Amazon, as well as brick-and-mortal retail stores such as Walmart. Additionally, Nutrafol

            Women is sold by physicians and hairstylists within Nutrafol’s network.13




            10
              .     https://www.vitallaw.com/news/advertising-n-d-cal-customer-s-false-advertising-claims-over-hair-
            regrowth-products-survive/ald01607cb6767daa1000bca8005056881d2304
            11
              .     https://www.foxbusiness.com/features/monat-shampoo-hair-loss-balding-consumers-claim
            12
              .     https://hamptons.com/lifestyle-for-your-health-26827-interview-greek-born-engineer-entrepreneur-
            html/
            13
              .     https://nutrafol.com/partners/


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                                             JURISDICTION AND VENUE

                    17.    This Court has jurisdiction over this action because Plaintiff and the members of

            the Class she seeks to represent are all New York residents, and the acts and events at issue in this

            case took place in New York.

                    18.    Venue is proper in this Court because Plaintiff is a resident of Rockland County,

            and a substantial part of the underlying events took place in Rockland County.

                                              FACTUAL BACKGROUND

            I.      Due to the Premium Consumers are Willing to Pay for Products that are Backed by
                    Science, Manufacturers Routinely Misrepresent That Their Products Have Been
                    Scientifically Proven to be Effective

                    19.    Consumers who are seeking help for symptoms of hair loss or alopecia are

            particularly vulnerable targets for unscrupulous manufacturers and advertisers. In a bid to avoid

            the negative side effects of pharmaceutical hair loss drugs, consumers are willing to pay a premium

            for nutraceutical supplements that are scientifically proven to be effective. This is especially true

            where there are putative claims that the product does not have negative side effects. In an

            overcrowded marketplace where beneficial health claims are ubiquitous, being able to convince

            the consuming public about the efficacy of a product is critical.

                    20.    In order to differentiate their products and gain a competitive edge, manufacturers

            and advertisers routinely mislead consumers by claiming that the efficacy of their products is

            backed by science (i.e., “establishment claims”), when, in fact, it is not. That is why Courts are

            particularly wary of claims by manufacturers that their product has been scientifically proven to

            be effective when, as here, those claims are false.

                    21.    An advertiser’s health-related claims about the efficacy of a product must “be

            supported with ‘competent and reliable scientific evidence,” which the Federal Trade Commission

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            (the “FTC”) defines as “‘tests, analyses, research, studies, or other evidence based on the expertise

            of professionals in the relevant area, that have been conducted and evaluated in an objective

            manner by persons qualified to do so, using procedures generally accepted in the profession to

            yield accurate and reliable results.’”14 As the FTC has stated, “well-controlled human clinical

            studies are the most reliable form of evidence.”15

            II.     Nutrafol Falsely Markets Its Hair Loss Supplement as “Clinically Proven” and
                    “Medical Grade”
                    22.      Nutrafol’s online advertisements are ubiquitous. However, Nutrafol also leverages

            its brand through television advertising and, most recently, with a broad, exploitive and cynical

            marketing campaign called “Shed the Silence,” which is ostensibly intended to help “connect

            women to other women, experts and influencers … [to] empower women to share personal stories

            and recommendations, and educate and raise awareness around the toll of hair thinning – both

            physically and mentally.”16

                    23.      The campaign to raise “awareness,” however, is simply a transparent smokescreen

            to raise awareness of Nutrafol’s snake oil by using paid “partners” whose job is to influence

            consumers using social media and online forums while masquerading as everyday consumers.17

                    24.      Nutrafol’s website is littered with claims by paid actors touting Nutrafol Women

            and its false claims that Nutrafol is “clinically effective,” and that “[c]linical studies show that




            14
               .     FTC, Dietary Supplements: An Advertising Guide to Industry, Section II(B), at https://www.ftc.gov/tips-
           advice/business-center/guidance/dietary-supplements-advertising-guide-industry
            15
               .     FTC, Dietary Supplements: An Advertising Guide to Industry, Section II(B)(2), at https://www.ftc.gov/tips-
            advice/business-center/guidance/dietary-supplements-advertising-guide-industry
            16
               .     https://www.thedrum.com/news/2022/09/09/nutrafol-encourages-women-talk-about-hair-thinning-and-
            break-the-taboo-around-it

            17
             .      https://truthinadvertising.org/articles/nutrafol-needs-to-shed-its-deceptive-hair-growth-claims/

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            Nutrafol works.” Nutrafol even expresses feigned disdain for other supplements that are “never

            clinically tested for efficacy:”




                    25.     At other portions of its website, Nutrafol falsely claims, without any qualification

            or conditions, that Nutrafol Women has been “clinically proven”:




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                    26.    As such, it is clear that Nutrafol Women is deliberately and conspicuously marketed

            to unsuspecting consumers as a scientifically proven supplement that was not only subject to the

            rigors of clinical testing, but is also comprised of “medical-grade” ingredients, thereby creating

            the false impression among consumers that they are purchasing a supplement with pharmacologic

            characteristics that are able to produce medically significant changes in the body when consumed.

            III.    The “Clinically Proven” and “Medical Grade” Claims are False and Mislead
                    Consumers
                    27.    Reasonable consumers understand that the “clinically proven” and “medical grade”

            claims convey that Nutrafol Women has been proven to increase the rate of hair growth, result in

            thicker and fuller hair, and to medically address the root causes of compromised hair health by




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            regulating stress, hormones, metabolism, nutrition, and the effects of aging. Indeed, these metrics

            are expressly stated by Nutrafol Women as the benefits of taking the supplement.18

                    28.      The “clinically proven” and “medical grade” claims, however, are patently false

            since the only clinical trial conducted by Nutrafol to test its Nutrafol Women supplement did not

            prove its effectiveness.

                    29.      To support its claims in connection with the marketing of Nutrafol Women as a

            “clinically proven” or “medical grade” supplement, Nutrafol cites to one clinical trial, conducted

            by Dr. Sophia Kogan and Dr. Glynis Ablon, whose results were published in the May 2018 issue

            of the Journal of Drugs in Dermatology.19

                    30.      Unsurprisingly, Dr. Kogan is listed as a co-founder of Nutrafol Women and holds

            the position as its Chief Medical Advisor.20 Dr. Ablon, on the other hand, received a research grant

            from Nutrafol to “study” the very product Nutrafol was heavily invested in marketing. Apart from

            the glaringly obvious conflicts of interest, however, the parameters of the clinical trial also reveal

            it to have been a curated exercise in self-affirming data manipulation.

                    31.      At the outset, the double-blind clinical trial was limited to just 40 female

            participants. It is well understood and accepted that such small sample sizes are not a sufficient

            foundation to draw scientifically reliable conclusions with respect to the efficacy of a tested drug

            or supplement.21

                    32.      Further, for reasons that are not disclosed, nearly twice the number of participants

            in Nutrafol Women’s clinical trial were assigned to the active supplement group, numbering at 26,



            18
               .     https://nutrafol.com/nutrafol-core-for-women/
            19
               .     https://jddonline.com/articles/a-six-month-randomized-double-blind-placebo-controlled-study-evaluating-
            the-safety-and-efficacy-of-a-S1545961618P0558X/
            20
               .     https://nutrafol.com/story/
            21
               .     https://www.winchesterhospital.org/health-library/article?id=21861

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            whereas only 14 women were assigned to the placebo group. Such unequal allocations, likewise,

            denigrate the internal validity of any such clinical trial, with equal 1:1 allocation recognized as the

            proverbial gold standard.22

                    33.     Additionally, the participants in the active supplement group were also 5 years

            younger as compared to those in the placebo group. Notably, although the age range for

            participants was 21 to 65 years, the authors of the clinical trial failed to disclose the precise ages

            of the participants allocated to each group. Given that age and concomitant hormone loss in women

            is a prominent factor in hair loss, as Nutrafol itself acknowledges, the allocation of older

            participants to the already small placebo group is designed to skew the results and it worked as

            designed.

                    34.     Inexplicably, the participants “randomly” assigned to the placebo group had a

            consistent and significantly higher level of baseline stress than those in the group receiving the

            supplement (78.6% vs 42.3%). In other words, the placebo group participants suffered from stress

            at nearly double the rate, which is critical because Nutrafol Women itself highlights that stress has

            been shown to “make hair follicles shift from a growth state to a rest state … [and] if not addressed,

            the follicle may receive a signal to prematurely stop growing”:




            22
             .      https://www.ncbi.nlm.nih.gov/pmc/articles/PMC3873626/

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                    35.     However, there are even more fundamental problems with the clinical study which

            render its dubious “scientific” conclusions particularly deceptive to its target consumers.

                    36.     On its website, Nutrafol unabashedly proclaims:




                    37.     Further, in the “Common Questions” section of the website, Nutrafol answers the

            question “How do Nutrafol hair growth Nutraceuticals work?” as follows:

                            Cutting-edge hair science tells us that genetics isn't the only factor
                            at play when it comes to thinning hair; there are multiple imbalances
                            in the body that can lead to compromised hair health. That's why our
                            clinically proven Hair Growth Nutraceuticals are formulated to
                            target multiple root causes—including stress, hormones, aging,
                            metabolism, nutrition, and lifestyle—all with medical-grade,
                            natural ingredients that support whole-body health from within.23

                    38.     The notion that Nutrafol Women is effective without regard for its user’s age or

            genetics, and targets hormonal imbalances and metabolic factors, or is certain to achieve every




            23
             .      https://nutrafol.com/results/(emphasis added)

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            woman’s “hair goals,” is blatantly false and belied by the very parameters of Nutrafol’s clinical

            trial.

                     39.     Nutrafol’s deceptive advertising conceals from consumers the broad exclusion

            criteria employed by the clinical trial which include (1) pregnancy and nursing; (2) use of

            hormones therapies or initiation of hormones as a method of birth control; (3) the prior use of

            minoxidil or light therapy for hair regrowth; (4) the use of any medications whose side effects

            include hair loss or have an effect on hair growth; and (5) women suffering from diabetes or thyroid

            disorders.

                     40.     Moreover, according to Nutrafol’s disclosures on clinicaltrials.gov,24 female

            participants with well-known hair loss conditions like alopecia areata, scarring alopecia,

            androgenetic alopecia and telogen effluvium were excluded, as were women with any history of

            flaking or itching of the scalp, any known allergies or sensitivity to shampoo and/or conditioner,

            women with depression and, egregiously, any women that had experienced a “stressful incident”

            within six months prior to the clinical trial.

                     41.     In addition to the above exclusion criteria, the clinical trial broadly excluded all

            women with “hair loss disorders and active dermatologic or other health conditions that, in the

            opinion of the investigator, might place the subject at risk or interfere with the study treatment

            and clinical evaluations.” (Emphasis added). The Nutrafol to English translation is, “if you suffer

            from hair loss for any reason, we will exclude you from our study.”

                     42.     Nutrafol does not disclose what other considerations guided its investigator in

            excluding a broad range of women from participation in the clinical trial. Nevertheless, it is clear

            that in actively limiting its pool of participants to “healthy women” with “self-perceived thinning



            24
             .       https://clinicaltrials.gov/ct2/show/NCT03206567?term=Nutrafol&draw=2&rank=1

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            hair,” and excluding every woman with any objectively documented condition of the hair or skin

            that would imperil Nutrafol obtaining the exact answers it needed to obtain, Nutrafol’s deceptive

            advertising promises far more than its supplement could ever hope to deliver.

                    43.     Rather than being a hair loss panacea suitable for all women regardless of “age,

            genetics, or hair goals,” as Nutrafol falsely claims, the clinical trial excluded from participation

            precisely that population of women that are most likely to purchase the product — that is, women

            with “hair loss disorders and active dermatologic or other health conditions.”

                    44.    Diabetes and thyroid disorders, for example (both of which constituted exclusion

            criteria under the clinical trial) are, by definition, hormone imbalances.25 26 Yet, Nutrafol’s website

            actively identifies hormonal imbalances as one of the major root causes that Nutrafol Women is

            designed to “target” in order to improve hair health:




            25
              .     https://www.endocrine.org/patient-engagement/endocrine-library/diabetes-and-endocrine-
            function#:~:text=Diabetes%20occurs%20when%20the%20pancreas,or%20stored%20for%20the%20future.
            26
              .     https://www.mayoclinic.org/diseases-conditions/hypothyroidism/symptoms-causes/syc-
            20350284#:~:text=Hypothyroidism%20happens%20when%20the%20thyroid,symptoms%20in%20its%20early%20s
            tages.


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                    45.    Worse still, when identifying the source of hormonal imbalances in the body that

            Nutrafol Women is intended to “target,” Nutrafol deceptively uses an anatomical depiction of the

            female body with prominent highlighting of (a) the area around the pancreas, disorders of which

            lead to diabetes, (b) the area of the thyroid, disorders which lead to hyperthyroidism and

            hypothyroidism:




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                    46.    It is estimated that as many as 1 in 8 women will develop thyroid problems during

            their lifetimes.27 Further, 1 in 9 women are estimated28 to have diabetes at present. Thus, millions

            of women who fell within the exclusion criteria of Nutrafol Women’s clinical trial are falsely led

            to believe, based on Nutrafol’s deceptive advertising, that Nutrafol Women will not only help them

            regrow hair, but will regulate their hormonal imbalances in the process. Nutrafol literally and

            figuratively highlight the two organs responsible for female hormone imbalance, then implicitly

            disclaims any ability to help those subjects by exclusion from its study.

                    47.    Women using hormone-based contraceptives (i.e., the “Pill”) were likewise

            excluded from the clinical trial, and yet statistics reveal that 21.6% of women between the ages of

            20-29 use the Pill, and 10.9 percent of women between the ages of 30-39 use the Pill.29 Thus,



            27
               .         https://www.womenshealth.gov/a-z-topics/thyroid-
            disease#:~:text=One%20in%20eight%20women%20will,helps%20control%20your%20menstrual%20cycle.
            28
               .         https://www.womenshealth.gov/a-z-
            topics/diabetes#:~:text=About%2015%20million%20women%20in,in%20every%209%20adult%20women.
            29
                 https://www.statista.com/statistics/1235827/share-women-contraceptive-method-by-age-us/

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            among the target demographic of women between the ages of 18-44, usage of hormone based

            contraceptive measures is significant, amounting to millions of women. Yet, Nutrafol nowhere

            discloses in its marketing that the Nutrafol Women’s clinical study excluded this broad swath of

            women who suffer hair loss.

                    48.     The clinical trial also categorically excluded women that are nursing, constituting

            approximately 83% of all mothers with newborns,30 which is particularly insidious since Nutrafol

            uses the same manipulated data to advertise another spin-off supplement, touted as containing

            “clinically effective” ingredients and specifically formulated for breastfeeding mothers, under the

            name Nutrafol Postpartum:




            30
             .      https://www.cdc.gov/breastfeeding/data/reportcard.htm


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                    49.     Indeed, Nutrafol Postpartum consists of largely the same ingredients as the original

            formula --- with a similar blend of amino acids L-Cysteine, L-Methionine, L-Lysine; iodine, zinc,

            and selenium; palm extract; biotin, hydrolyzed marine collagen; and vitamins A, B, D, and E.31

            Though there are some differences in the postpartum blend, such as the addition of a host of B

            vitamins and shatavari root extract (otherwise known as asparagus root), which is believed to help

            nursing women lactate,32 Nutrafol does not claim to have conducted any clinical trials on Nutrafol

            Postpartum with respect to hair growth. Nutrafol is simply repackaging the same basic (and,

            ineffectual) building blocks of its original formula and superficially “spicing” them up with an

            assemblage of holistic herbal cocktails that have no known link to or benefit on hair growth.

                    50.     Nutrafol’s sleight of hand in manipulating its clinical trial data by cherry picking

            participants is well documented.33 Given that the exclusion criteria widely screened out women

            with a broad array of conditions — that is, everything from allergies to alopecia to taking the Pill

            — one hair loss expert exposed Nutrafol Women’s clinical trial as not “designed to truly evaluate




            31
              .     https://nutrafol.com/nutrafol-postpartum-for-women/
            32
              .     https://www.webmd.com/vitamins-and-supplements/are-there-health-benefits-of-shatavari-powder
            33
              .     https://perfecthairhealth.com/nutrafol-review/

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            the effectiveness of the supplement on a group of hair loss sufferers representative of their target

            consumer; it was just designed to reap positive results to showcase to all consumers.”34

                    51.     Conditions such as alopecia areata, scarring alopecia, androgenetic alopecia and

            telogen effluvium constitute approximately 95% of all hair loss cases among women in the

            developed world.35 Yet, Nutrafol was so convinced that it would be inappropriate for these

            populations to use their products, that they didn’t even permit them to be a part of the study.

            Disturbingly, however, Nutrafol does not exclude such women from its marketing and packaging

            because they are obviously the most eager consumers of Nutrafol’s false claims. Accordingly,

            these populations purchased Nutrafol, at a premium, completely unaware that no study regarding

            its efficacy for them had ever been conducted. Thus, beyond the fact that Nutrafol’s study is

            scientifically meaningless, the ultimate deceit is that no study was ever conducted of Nutrafol’s

            effectiveness for the women who are most likely to lose hair.

                    52.     Tallying the statistics, women with any of the following conditions or

            characteristics – that is, nursing mothers (approximately 83.2% of new mothers),36 women with

            diabetes (approximately 12% of women),37 women with thyroid conditions (approximately 12.5%

            of women), women with androgenetic hair loss disorders (approximately 50% of women),38

            women with depression (approximately 10 – 15% of women),39 women using hormone based

            contraception (approximately 12% of women),40 women with iron deficiencies (approximately




            34
               .        Id.
            35
               .        Id.
            36
               .        https://www.cdc.gov/media/releases/2018/p0820-breastfeeding-report-card.html
            37
               .        https://www.cdc.gov/diabetes/pdfs/data/statistics/national-diabetes-statistics-report.pdf
            38
               .https://www.ncbi.nlm.nih.gov/pmc/articles/PMC6706984/#:~:text=The%20genetically%20determined%20progre
            ssive%20process,males%20and%2050%25%20of%20women.
            39
               .        https://clinicaltrials.gov/ct2/show/NCT03206567?term=Nutrafol&draw=2&rank=1
            40
               .        https://www.cnn.com/2018/12/19/health/contraceptive-use-cdc-study/index.html

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            17% of women)41 – collectively account for the near entirety of the American female population

            and certainly comprise most, if not all, the women who would actively seek to purchase a product

            such as Nutrafol Women. And yet, these women are precisely those whose genetic and

            physiological profiles were excluded from Nutrafol’s study and, as such, comprise the class of

            deceived consumers.

                    53.    As such, Nutrafol’s advertising is a dual pronged deception. In the first instance,

            female consumers with any of the myriad conditions that constituted exclusion criteria in

            Nutrafol’s study are deceived into purchasing a product that, while directly targeting them as

            consumers, deliberately conceals from them the fact that the study was designed to demonstrate

            efficaciousness only by virtue of their exclusion. In other words, Nutrafol knows that its product

            does nothing for the overwhelming supermajority of women, which is precisely why Nutrafol did

            not even bother testing them in the first place.

                    54.    Secondly, Nutrafol’s study is so flawed in its basic construction and design that,

            even if a subset of perfectly healthy women with no hair problems existed among the general

            population in any significant measure, these women would likewise be deceived as consumers

            since the study failed, at a fundamental level, to establish any causal relationship between

            consumption of the supplement and hair regrowth. Put another way, the study proved nothing ---

            and, certainly, nothing even remotely approaching the “clinical” significance Nutrafol falsely

            advertises to the public.

                    55.    It is unsurprising, therefore, to find a plethora of women complaining about seeing

            absolutely no results after using the supplement since, given the incredibly restrictive criteria for


            41
             .       https://www.cuimc.columbia.edu/news/are-we-underestimating-prevalence-iron-
            deficiency#:~:text=About%2017%25%20of%20premenopausal%20women,deficient%20under%20the%20current%
            20thresholds.


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            participation in the clinical trial, Nutrafol’s overblown and deceptive advertising simply cannot

            comport with the reality of what everyday women, as opposed to Nutrafol’s paid influencers and

            carefully selected participants, truly experience:




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                    56.    Notably, as the above Amazon review from “Cathy A” points out, consumers

            unfortunately learn the hard way, after wasting hundreds of dollars, that Nutrafol Women works,

            if it “works” at all, only for an extreme minority of women that happen, by chance, to match the

            exact attributes of the cherry-picked participants in Nutrafol’s rigged clinical trial. In other



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            words, the study was specifically engineered to obtain a result that fit in with Nutrafol’s

            confirmation bias.

                     57.   The notion that Nutrafol Women is a universal supplement that confers benefits

            upon women regardless of their age or genetics, or that it will address key underlying problems,

            such as hormone imbalances and metabolic conditions as a precursor to healthier hair, is plainly

            false.

                     58.   In short, Nutrafol broadly and deliberately markets its supplement to millions of

            women with underlying health issues and conditions that are known to affect hair growth while, at

            the same time, pointing to a grossly unrepresentative clinical trial whose participants were healthy

            women that, at best, may have subjectively perceived their hair to be thinning.

            IV.      Plaintiff Purchased Nutrafol Women

                     59.   Plaintiff first purchased Nutrafol Women on or about November 7, 2021, on

            Amazon.com and again over the course of the next several months, with the latest purchase being

            made on March 23, 2022. Plaintiff consumed the supplement as directed over the course of several

            months, with no apparent benefit.

                     60.   Prior to purchasing Nutrafol Women, Plaintiff was exposed to Nutrafol’s marketing

            online and on social media, which touted it as being “clinically proven” and containing “medical-

            grade” ingredients.

                     61.   Plaintiff purchased Nutrafol Women believing that, as a clinically proven product,

            it would help her regrow and improve the thickness and quality of her hair. However, Plaintiff

            soon discovered that Nutrafol Women had no effect.

                     62.   Had Plaintiff known that Nutrafol Women was not clinically proven to regrow and

            improve the thickness and quality of hair, she would not have purchased it or, at the very least,

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            would not have paid the premium charged. For example, a six month supply of Nutrafol Women

            costs $528 on Amazon (six 120 capsule bottles, four capsules per day), while the clinically proven

            oral Minoxidil 2.5 mg costs merely $13 to $36 for the same period.42

                                        CLASS DEFINITION AND ALLEGATIONS

                      63.     Plaintiff brings this action on behalf of herself and all other similarly situated

            consumers in the State of New York pursuant to CPLR § 901, and seeks certification of the

            following class (the “Class”):

                              All consumers who, within the applicable statute of limitations
                              period, purchased in the State of New York (whether online or in-
                              person) Nutrafol supplements – manufactured, marketed,
                              distributed, and/or sold by Defendant which Defendant warranted as
                              being “Clinically Proven” and “Medical Grade” (the “Class
                              Product”). Excluded from the class are Defendant, its parents,
                              subsidiaries, affiliates, officers and directors, judicial officers and
                              their immediate family members and associated court staff assigned
                              to this case, and those who purchased the Class Product for resale.
                      64.     Plaintiff expressly disclaims any intent to seek any recovery in this action for

            personal injuries that she or any Class member may have suffered.

                      65.     Numerosity. This action is appropriately suited for a class action. The members

            of the Class are so numerous that joinder of all members of the Class is impracticable. Plaintiff is

            informed, believes, and thereon alleges, that the proposed Class contains thousands of purchasers

            of the Class Product who have been damaged by Defendant’s conduct as alleged herein. The

            precise number of Class members is unknown to Plaintiff.




            42
                 https://www.goodrx.com/minoxidil?form=tablet&dosage=2.5mg&quantity=180&label_override=minoxidil


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                     66.   Existence and Predominance of Common Questions of Law and Fact. This

            action involves questions of law and fact common to the Class. The common legal and factual

            questions include, but are not limited to, the following:

                           •   Whether Defendant’s conduct, as alleged herein, constitutes violations of New
                               York General Business Law Section 349.

                           •   Whether Defendant’s conduct, as alleged herein, constitutes violations of New
                               York General Business Law Section 350.

                           •   Whether Defendant labeled, advertised, marketed, and/or sold the Class Product
                               as “Clinically Proven” and “Medical Grade.”

                           •   Whether Defendant’s labeling, advertising, marketing, and/or selling of the
                               Class Product as “Clinically Proven” and “Medical Grade” was and/or is false,
                               fraudulent, deceptive, and/or misleading.

                     67.   Typicality. Plaintiff’s claims are typical of the claims of the members of the Class,

            because, inter alia, all Class members have been injured through the uniform misconduct described

            above and were subject to Defendant’s blatant misrepresentation that the Class Product was

            “Clinically Proven” and “Medical Grade.”

                     68.   Moreover, Plaintiff’s claims are typical of the Class members’ claims. Plaintiff is

            advancing the same claims and legal theories on behalf of herself and all members of the Class.

                     69.   Adequacy of Representation. Plaintiff will fairly and adequately protect the

            interests of the members of the Class. Plaintiff purchased the Class Product, and she was harmed

            by Defendant’s deceptive misrepresentations. Plaintiff has therefore suffered an injury in fact as

            a result of Defendant’s conduct, as did all Class members who purchased the Class Product.

            Plaintiff has retained counsel who are adept, sophisticated, and experienced in the field of class

            action litigation, and have adequate resources to fully and zealously advocate on behalf of the

            class.




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                    70.     Superiority. A class action is superior to other methods for the fair and efficient

            adjudication of this controversy. The damages or other financial detriment suffered by individual

            Class members is relatively small compared to the burden and expense that would be entailed by

            individual litigation of their claims against Defendant. It would be virtually impossible for a

            member of the Class, on an individual basis, to obtain effective redress for the wrongs done to him

            or her. Further, even if the Class members could afford such individualized litigation, the court

            system could not. Individualized litigation would create the danger of inconsistent or contradictory

            judgments arising from the same set of facts. Individualized litigation would also increase the

            delay and expense to all parties and the court system from the issues raised by this action. By

            contrast, the class action device provides the benefits of adjudication of these issues in a single

            proceeding, economies of scale, and comprehensive supervision by a single court, and presents no

            management difficulties under the circumstances here.

                    71.     Plaintiff seeks monetary damages, including statutory damages on behalf of the

            entire Class, and other equitable relief on grounds generally applicable to the entire Class. Unless

            a Class is certified, Defendant will be allowed to profit from its deceptive practices, while Plaintiff

            and the members of the Class will have suffered damages.

                                                     COUNT I
                              (Violation of New York General Business Law Section 349)
                    72.     Plaintiff realleges and incorporates by reference the allegations in paragraphs 1

            through 68 as if fully set forth herein.

                    73.     New York General Business Law § 349 prohibits “deceptive acts or practices in the

            conduct of any business, trade or commerce or in the furnishing of any service in [New York].”

                    74.     By labeling, advertising, marketing, distributing, and/or selling the Class Product

            to Plaintiff and the other Class members as “Clinically Proven” and “Medical Grade,” Defendant

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            engaged in, and continues to engage in, deceptive acts and practices because the Class Product has

            not been proven to be effective.

                    75.    In taking these actions, Defendant failed to disclose material information about its

            product, which omissions were misleading in a material respect to consumers and resulted in the

            purchase of the Class Product.

                    76.    Defendant has deceptively labeled, advertised, marketed, promoted, distributed,

            and sold the Class Product to consumers.

                    77.    Defendant’s conduct was consumer oriented.

                    78.    Defendant engaged in the deceptive acts and/or practices while conducting

            business, trade, and/or commerce and/or furnishing a service in New York.

                    79.    Defendant’s false “Clinically Proven” and “Medical Grade” claim was and is

            misleading in a material respect as to whether the Class Product was, in fact, clinically tested and

            proven effective with respect to the consumers Nutrafol targeted.

                    80.    Based on, among other things, Defendant’s knowledge that the Class Product was

            not proven in a clinical setting, Defendant knew that by making the misrepresentations addressed

            herein, Plaintiff and other consumers would be misled into purchasing the Class Product and/or

            paying a premium price for the Class Product.

                    81.    Plaintiff and the Class members have been aggrieved by and have suffered losses

            as a result of Defendant’s violations of Section 349 of the New York General Business Law. By

            virtue of the foregoing unfair, unconscionable, and deceptive acts in the conduct of trade or

            commerce, Plaintiff and the members of the Class have been substantially injured by purchasing

            and/or overpaying for the Class Product which is not what Defendant represents it to be.




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                    82.     By reason of the foregoing, Defendant’s conduct, as alleged herein, constitutes

            deceptive acts and practices in violation of Section 349 of the New York General Business Law,

            and Defendant is liable to Plaintiff and the Class for the actual damages that they have suffered as

            a result of Defendant’s actions, the amount of such damages to be determined at trial, plus statutory

            damages, treble damages, and attorneys' fees and costs.

                    83.     Defendant’s conduct, as alleged herein, in violation of Section 349 of the New York

            General Business Law was engaged in by Defendant willfully and/or knowingly. Accordingly,

            Plaintiff and members of the Class are entitled to an award of damages above and beyond their

            actual damages in accordance with Section 349(h) of the New York General Business Law.

                                                     COUNT II
                              (Violation of New York General Business Law Section 350)

                    84.     Plaintiff realleges and incorporates by reference the allegations in paragraphs 1

            through 80 as if fully set forth herein.

                    85.     Defendant’s labeling, marketing, and advertising of the Class Product is

            “misleading in a material respect,” as it fails to disclose to consumers material information in

            Defendant’s sole possession and, thus, is “false advertising.”

                    86.     No rational individual would purchase the Class Product at the premium price at

            which it is sold if that individual knew that the Class Product was not “Clinically Proven” or

            “Medical Grade,” which is how Defendant markets the Class Product.

                    87.     Defendant’s advertisements and marketing of the Class Product as “Clinically

            Proven” and “Medical Grade” were consumer oriented.

                    88.     Defendant’s advertisements and marketing of the Class Product as “Clinically

            Proven” and “Medical Grade” were misleading in a material respect.




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                    89.    By virtue of the foregoing unfair, unconscionable, and deceptive acts in the conduct

            of trade or commerce in New York, Plaintiff and the members of the Class have been substantially

            injured by overpaying for a product that has diminished value due on account of the false claim

            that it has been tested clinically and proven effective.

                    90.      Defendant’s conduct, as alleged herein, constitutes false advertising in violation

            of Section 350 of the New York General Business Law, and Defendant is liable to Plaintiff and

            the members of the Class for the actual damages that they have suffered as a result of Defendant’s

            actions, the amount of such damages to be determined at trial, statutory damages, plus treble

            damages, and attorneys’ fees and costs.

                    91.    Defendant continues to violate Section 350 of the New York General Business

            Law and continues to aggrieve Plaintiff and the members of the Class.

                                                 PRAYER FOR RELIEF

                    WHEREFORE, Plaintiff respectfully requests that the Court enter judgment against

            Defendant as follows:

                    A.     Certifying this action as a class action as soon as practicable, with the Class as

            defined above, designating Plaintiff as the named Class representative, and designating the

            undersigned as Class Counsel.

                    B.     On Plaintiff’s Count I, awarding against Defendant the damages that Plaintiff and

            the other members of the Class have suffered as a result of Defendant’s actions, the amount of

            such damages to be determined at trial, plus statutory damages and treble damages.

                    C.     On Plaintiff’s Count II, awarding against Defendant the damages that Plaintiff and

            the other members of the Class have suffered as a result of Defendant’s actions, the amount of

            such damages to be determined at trial, plus statutory and treble damages.



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                     D.     On Plaintiff’s Count I and II, awarding Plaintiff and the Class interest, costs, and

            attorneys’ fees.

                     E.     Awarding Plaintiff and the Class such other and further relief as this Court deems

            just and proper.

                                            DEMAND FOR TRIAL BY JURY

                     Plaintiff hereby demands a trial by jury on all issues so triable.

            Dated:          February 9, 2023
                            White Plains, New York
                                                                    DENLEA & CARTON LLP



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